                Case 08-90906-BHL-7                              Doc 12              Filed 04/28/08      EOD 04/28/08 19:58:05            Pg 1 of 37
B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Southern District of Indiana
  In re          Richard L Shelton                                                                                     Case No.      08-90906
                                                                                                                ,
                                                                                               Debtor
                                                                                                                       Chapter                   7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                 LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                         0.00


B - Personal Property                                             Yes                 4                    3,025.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 1                                                0.00


E - Creditors Holding Unsecured                                   Yes                 1                                                0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 9                                           56,606.04
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                      873.00
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 1                                                                   1,405.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            21


                                                                                Total Assets               3,025.00


                                                                                                 Total Liabilities                56,606.04




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Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                                           Southern District of Indiana
  In re           Richard L Shelton                                                                                    Case No.   08-90906
                                                                                                            ,
                                                                                          Debtor
                                                                                                                       Chapter                  7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                    Amount

              Domestic Support Obligations (from Schedule E)                                                        0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                    0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                    0.00

              Student Loan Obligations (from Schedule F)                                                            0.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                    0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                    0.00

                                                                                 TOTAL                              0.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                          873.00

              Average Expenses (from Schedule J, Line 18)                                                       1,405.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                              0.00


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                             0.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                    0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                             0.00

              4. Total from Schedule F                                                                                                 56,606.04

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                             56,606.04




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B6A (Official Form 6A) (12/07)


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  In re          Richard L Shelton                                                                                  Case No.      08-90906
                                                                                                           ,
                                                                                           Debtor

                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                           Husband,    Current Value of
                                                                                 Nature of Debtor's         Wife,     Debtor's Interest in            Amount of
                 Description and Location of Property                            Interest in Property       Joint, or  Property, without             Secured Claim
                                                                                                          Community Deducting  any Secured
                                                                                                                      Claim or Exemption




                         None




                                                                                                            Sub-Total >               0.00          (Total of this page)

                                                                                                                Total >               0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                            (Report also on Summary of Schedules)
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                Case 08-90906-BHL-7                              Doc 12         Filed 04/28/08        EOD 04/28/08 19:58:05                  Pg 4 of 37
B6B (Official Form 6B) (12/07)


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  In re          Richard L Shelton                                                                                      Case No.       08-90906
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                              Cash in pocket                                                    -                              5.00

2.     Checking, savings or other financial                      savings account # 60045316                                        -                            35.00
       accounts, certificates of deposit, or                     Centra Credit Union
       shares in banks, savings and loan,                        PO Box 789
       thrift, building and loan, and                            Columbus, IN 47202-0789
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          dining table and 2 chairs                                         -                           750.00
       including audio, video, and                               sectional sofa and ottoman
       computer equipment.                                       loveseat
                                                                 TV and entertainment stand
                                                                 coffee table
                                                                 (2) bed (queen and twin)
                                                                 night stand
                                                                 1 dresser
                                                                 chest of drawers

                                                                 2 wall hanging pictures                                           -                            60.00
                                                                 1 mirror

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          personal clothing incl.                                           -                           300.00
                                                                 1 winter coat
                                                                 1 jacket
                                                                 various pants (shorts, jeans and casual)
                                                                 shirts (t-shirts and polo-type shirts)

7.     Furs and jewelry.                                         timex watch and high school class ring                            -                           100.00




                                                                                                                                   Sub-Total >            1,250.00
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property

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                Case 08-90906-BHL-7                              Doc 12         Filed 04/28/08           EOD 04/28/08 19:58:05               Pg 5 of 37
B6B (Official Form 6B) (12/07) - Cont.




  In re          Richard L Shelton                                                                                      Case No.       08-90906
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.


                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property

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                Case 08-90906-BHL-7                              Doc 12         Filed 04/28/08           EOD 04/28/08 19:58:05               Pg 6 of 37
B6B (Official Form 6B) (12/07) - Cont.




  In re          Richard L Shelton                                                                                      Case No.       08-90906
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           1992 Ford F150 Truck; no lien                                     -                        1,625.00
    other vehicles and accessories.                              automatic v-8 engine
                                                                 long bed
                                                                 214,000 Miles

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.



                                                                                                                                   Sub-Total >            1,625.00
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property

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                Case 08-90906-BHL-7                              Doc 12         Filed 04/28/08           EOD 04/28/08 19:58:05                Pg 7 of 37
B6B (Official Form 6B) (12/07) - Cont.




  In re          Richard L Shelton                                                                                      Case No.        08-90906
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                          Cub Cadet                                                          -                          150.00
    not already listed. Itemize.                                 riding lawnmower
                                                                 1970's or 80's model
                                                                 purchased 2003




                                                                                                                                   Sub-Total >              150.00
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                                                                                                                                        Total >           3,025.00
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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                 Case 08-90906-BHL-7                              Doc 12           Filed 04/28/08        EOD 04/28/08 19:58:05                 Pg 8 of 37
 B6C (Official Form 6C) (12/07)


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   In re          Richard L Shelton                                                                                      Case No.      08-90906
                                                                                                                ,
                                                                                               Debtor

                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                        Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                        $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                       Specify Law Providing                  Value of            Current Value of
                    Description of Property                                               Each Exemption                      Claimed             Property Without
                                                                                                                             Exemption          Deducting Exemption
Cash on Hand
Cash in pocket                                                                   Ind. Code § 34-55-10-2(c)(3)                         25.00                        5.00

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
savings account # 60045316                        Ind. Code § 34-55-10-2(c)(3)                                                        35.00                      35.00
Centra Credit Union
PO Box 789
Columbus, IN 47202-0789

Household Goods and Furnishings
dining table and 2 chairs                                                        Ind. Code § 34-55-10-2(c)(1)                        750.00                     750.00
sectional sofa and ottoman
loveseat
TV and entertainment stand
coffee table
(2) bed (queen and twin)
night stand
1 dresser
chest of drawers

2 wall hanging pictures                                                          Ind. Code § 34-55-10-2(c)(1)                         60.00                      60.00
1 mirror

Wearing Apparel
personal clothing incl.                                                          Ind. Code § 34-55-10-2(c)(2)                        300.00                     300.00
1 winter coat
1 jacket
various pants (shorts, jeans and casual)
shirts (t-shirts and polo-type shirts)

Furs and Jewelry
timex watch and high school class ring                                           Ind. Code § 34-55-10-2(c)(2)                        100.00                     100.00

Automobiles, Trucks, Trailers, and Other Vehicles
1992 Ford F150 Truck; no lien                                                    Ind. Code § 34-55-10-2(c)(2)                       1,625.00                 1,625.00
automatic v-8 engine
long bed
214,000 Miles

Other Personal Property of Any Kind Not Already Listed
Cub Cadet                                         Ind. Code § 34-55-10-2(c)(2)                                                        25.00                     150.00
riding lawnmower
1970's or 80's model
purchased 2003




                                                                                                                Total:              2,920.00                 3,025.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                Case 08-90906-BHL-7                                Doc 12          Filed 04/28/08            EOD 04/28/08 19:58:05               Pg 9 of 37
 B6D (Official Form 6D) (12/07)


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  In re          Richard L Shelton                                                                                              Case No.     08-90906
                                                                                                                   ,
                                                                                                    Debtor

                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                               C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                   O                                                            O    N   I
                                                               D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
          AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT         UNSECURED
           INCLUDING ZIP CODE,                                 B   W              NATURE OF LIEN, AND                       I    Q   U                       PORTION, IF
                                                               T   J             DESCRIPTION AND VALUE                      N    U   T
                                                                                                                                            DEDUCTING
          AND ACCOUNT NUMBER                                   O                                                            G    I   E       VALUE OF           ANY
            (See instructions above.)
                                                                   C                  OF PROPERTY
                                                               R
                                                                                     SUBJECT TO LIEN
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                                                                                                                            N    A
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Account No.                                                                                                                      E
                                                                                                                                 D




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
Account No.




                                                                        Value $
                                                                                                                         Subtotal
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_____ continuation sheets attached
                                                                                                                (Total of this page)
                                                                                                                            Total                 0.00                     0.00
                                                                                                  (Report on Summary of Schedules)

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B6E (Official Form 6E) (12/07)


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  In re          Richard L Shelton                                                                                        Case No.         08-90906
                                                                                                              ,
                                                                                           Debtor

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
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                Case 08-90906-BHL-7                              Doc 12                  Filed 04/28/08               EOD 04/28/08 19:58:05        Pg 11 of 37
 B6F (Official Form 6F) (12/07)


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   In re          Richard L Shelton                                                                                             Case No.     08-90906
                                                                                                                          ,
                                                                                                        Debtor


                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM               I   Q   U
                                                                                                                                                           AMOUNT OF CLAIM
                                                                                 T   J                                                         N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                               E   D   D
                                                                                                                                               N   A
Account No.                                                                              4/2006                                                T   T
                                                                                                                                                   E
                                                                                         unpaid bill                                               D

Asset Acceptance
PO Box 2036                                                                          -
Warren, MI 48090

                                                                                                                                                                               92.00
Account No. 5433                                                                         April, 2007
                                                                                         1995 Jeep Wrangler
Automrama, LLC                                                                           repossessed
6515 Shephersdville Rd                                                               -
Louisville, KY 40228

                                                                                                                                                                           7,363.00
Account No. xx3838                                                                       8/28/2007
                                                                                         collection for Floyd Emergency Med.
B&B Financial Services, Inc.                                                             Associates
PO Box 706                                                                           -
La Grange, KY 40031

                                                                                                                                                                             170.00
Account No.                                                                              2007
                                                                                         unpaid rent/fees
Billy Richards
950 South Elm St.                                                                    -
Scottsburg, IN 47170

                                                                                                                                                                           3,027.50

                                                                                                                                             Subtotal
 8
_____ continuation sheets attached                                                                                                                                       10,652.50
                                                                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Richard L Shelton                                                                                             Case No.     08-90906
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxx8850                                                                      2004                                                      E
                                                                                         unpaid bill                                               D

Budget Car and Truck Sales
950 E. State Road 131                                                                -
Clarksville, IN 47129

                                                                                                                                                                        1,000.00
Account No. xxxx8530                                                                     2005
                                                                                         bad check fees/unpaid loan
Certegy Payment Recovery Services,
Inc.                                                                                 -
11601 Roosevelt Boulevard
Saint Petersburg, FL 33716
                                                                                                                                                                        1,006.07
Account No. xxxx8530                                                                     4/2007
                                                                                         bad check fees
Certegy Payment Recovery Services,
Inc.                                                                                 -
11601 Roosevelt Boulevard
Saint Petersburg, FL 33716
                                                                                                                                                                          566.94
Account No.                                                                              8/2005
                                                                                         collection for Insight Communications
Credit Protection Association
PO Box 513                                                                           -
Southfield, MI 48037

                                                                                                                                                                          259.00
Account No.                                                                              3/15/2007
                                                                                         deficiency balance on 1999 Chevy Tahoe
CSC
6801 Preston Highway                                                                 -
Louisville, KY 40219

                                                                                                                                                                      10,375.43

           1
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                      13,207.44
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Richard L Shelton                                                                                             Case No.     08-90906
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxxxxx1-019                                                                8/06                                                      E
                                                                                         children's books                                          D

Disney Wonderful World of Reading
PO Box 6001                                                                          -
Jefferson City, MO 65102-6001

                                                                                                                                                                            50.00
Account No. xxxxxxx1050                                                                  2007
                                                                                         unpaid bill
Duke Energy
PO Box 840                                                                           -
Cincinnati, OH 45201-0840

                                                                                                                                                                          300.00
Account No. xxx4021; xx5774; xxx3324                                                     2000-200
                                                                                         medical bills
GLA Collection Company
PO Box 991199                                                                        -
Louisville, KY 40269-1199

                                                                                                                                                                        1,923.00
Account No. xxxxxx4576                                                                   2007
                                                                                         children's magazine
Highlights for Children
1800 Watermark Dr                                                                    -
PO Box 269
Columbus, OH 43216-0269
                                                                                                                                                                            21.00
Account No. xxxx-xxxx-xxxx-5930                                                          2005
                                                                                         unpaid bill
Household Orchard Bank
Elite Recovery Services, Inc                                                         -
255 Grate Arrow Avenue, 2nd F., Suite
15
Buffalo, NY 14207                                                                                                                                                       1,225.00

           2
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        3,519.00
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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                Case 08-90906-BHL-7                              Doc 12                  Filed 04/28/08               EOD 04/28/08 19:58:05        Pg 14 of 37
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   In re          Richard L Shelton                                                                                             Case No.     08-90906
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxx7626                                                                      3/2005                                                    E
                                                                                         unpaid bill- Collection for Vectren                       D

IEI Financial Services
PO Box 42788                                                                         -
Indianapolis, IN 46242

                                                                                                                                                                          300.00
Account No. xxx3156                                                                      3/2006
                                                                                         Collection for Vectren Energy
IEI Financial Services
PO Box 42788                                                                         -
Indianapolis, IN 46242

                                                                                                                                                                            61.00
Account No. xxxxx30-06                                                                   2007
                                                                                         unpaid bill
Insight Communications
PO Box 197909                                                                        -
Louisville, KY 40259

                                                                                                                                                                          259.15
Account No. no acct. #                                                                   2007
                                                                                         unpaid loan
James Bryant
408 Cherry St.                                                                       -
New Albany, IN 47150

                                                                                                                                                                        1,500.00
Account No. no account #                                                                 2007
                                                                                         deficiency balance on car loan
Jim Butner Auto Sales
205 W. Lewis and Clark Parkway                                                       -
Scottsburg, IN 47170

                                                                                                                                                                      16,852.82

           3
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                      18,972.97
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Richard L Shelton                                                                                             Case No.     08-90906
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxxx7968                                                                    2004                                                      E
                                                                                         student loans                                             D

KHESLC
PO Box 9001774                                                                       -
Louisville, KY 40290-1774

                                                                                                                                                                        1,487.59
Account No. xHLx8949                                                                     2007
                                                                                         unpaid bill
MCI
c/o Penn Credit Corporation                                                          -
PO Box 988
Harrisburg, PA 17108-0988
                                                                                                                                                                          162.10
Account No.                                                                              NOTICE ONLY- collection for Household
                                                                                         Orchard
Midland Credit Management
8875 Aero Drive, Suite 200                                                           -
San Diego, CA 92123

                                                                                                                                                                             0.00
Account No.                                                                              4/17/2007
                                                                                         unpaid bank fees
New Washington State Bank
2675 Charlestown Road                                                                -
New Albany, IN 47150

                                                                                                                                                                          110.50
Account No.                                                                              October, 2007
                                                                                         consumer goods
Orscheln Farm and Home
1326 N. Gardner St.                                                                  -
Scottsburg, IN 47170

                                                                                                                                                                          419.13

           4
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        2,179.32
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Richard L Shelton                                                                                             Case No.     08-90906
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxxx3411SAC                                                                  2007                                                      E
                                                                                         medical bill                                              D

Peony Emergency Physicians
PO Box 13607                                                                         -
Philadelphia, PA 19107-3607

                                                                                                                                                                          443.00
Account No. xxxxxx68-10                                                                  8/31/2007
                                                                                         unpaid bill
Plaza Associates
370 Seveth Avenue                                                                    -
New York, NY 10001-3900

                                                                                                                                                                          460.41
Account No. xxxx7330                                                                     2005
                                                                                         unpaid bill
Rumpke Consolidated Co.
10795 Hughes Rd.                                                                     -
Cincinnati, OH 45251-4523

                                                                                                                                                                          115.85
Account No. xxxx3411SAC                                                                  2/20/07
                                                                                         medical treatment
Saint Catherine Regional Hospital
2200 Market Street                                                                   -
Charlestown, IN 47111

                                                                                                                                                                        1,514.30
Account No. NCA801                                                                       2007
                                                                                         unpaid bill
SBC
c/o NCO Financial Systems, Inc                                                       -
507 Prudential Road
Horsham, PA 19044
                                                                                                                                                                            90.56

           5
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        2,624.12
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Richard L Shelton                                                                                             Case No.     08-90906
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xx8600                                                                       2003                                                      E
                                                                                         unpaid bill                                               D

Scott Regional Sewage District
88 W. McClain Ave                                                                    -
Scottsburg, IN 47170

                                                                                                                                                                          143.54
Account No. xxx50 06                                                                     April, 2007
                                                                                         electric and water for 783 Bellevue
Scottsburg Utilities
2 E. McClain Ave                                                                     -
Scottsburg, IN 47170

                                                                                                                                                                          417.00
Account No.                                                                              11/2003
                                                                                         medical bill
Senex Services
3500 DePauw Blvd., #3050                                                             -
Indianapolis, IN 46268

                                                                                                                                                                            49.00
Account No. xxxxxxx087-8                                                                 3/07
                                                                                         cell phone service
Sprint PCS
PO Box 660092                                                                        -
Dallas, TX 75266-0092

                                                                                                                                                                          677.00
Account No. xxxx72-00                                                                    12/06/07
                                                                                         medical services
St. Catherine Phy Svc
1901 W. Hamilton St.                                                                 -
Suite 100B
Allentown, PA 18104
                                                                                                                                                                            90.00

           6
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        1,376.54
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Richard L Shelton                                                                                             Case No.     08-90906
                                                                                                                          ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                        C   U   D
                    CREDITOR'S NAME,                                             O                                                             O   N   I
                    MAILING ADDRESS                                              D   H                                                         N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                   T   I   P
                                                                                 B                                                             I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM               N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.               G   I   E
                   (See instructions above.)                                     R                                                             E   D   D
                                                                                                                                               N   A
                                                                                                                                               T   T
Account No. xxx2341                                                                      2/20/07                                                   E
                                                                                         medical services                                          D

St. Catherine Reg Hospital
PO Box 9                                                                             -
Charlestown, IN 47111-0009

                                                                                                                                                                        1,514.30
Account No. xx3570                                                                       2006
                                                                                         unpaid bill
Storage Express
PO Box 70                                                                            -
Bloomington, IN 47402-0070

                                                                                                                                                                            62.00
Account No. Fxxxx4469                                                                    2006
                                                                                         unpaid service fees
TMobile
c/o Sunrise Credit                                                                   -
PO Box 9100
Farmingdale, NY 11735-9228
                                                                                                                                                                          460.41
Account No. xxx7814                                                                      2003
                                                                                         unpaid bill
Tympana USA
PO Box 5305                                                                          -
Glen Allen, VA 23058

                                                                                                                                                                            89.64
Account No. xxx2935                                                                      2005
                                                                                         collection for First Preimer Bank
West Asset Management, Inc
PO Box 724747                                                                        -
Atlanta, GA 31139-1747

                                                                                                                                                                          757.80

           7
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                      Subtotal
                                                                                                                                                                        2,884.15
Creditors Holding Unsecured Nonpriority Claims                                                                                     (Total of this page)




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   In re          Richard L Shelton                                                                                                 Case No.      08-90906
                                                                                                                           ,
                                                                                                        Debtor

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. xxxxx7576; xxxxx8011                                                         2007                                                           E
                                                                                         unpaid bank fees                                               D

Your Community Bank
101 W. Spring St.                                                                    -
New Albany, IN 47150

                                                                                                                                                                             1,190.00
Account No.




Account No.




Account No.




Account No.




           8
Sheet no. _____     8
                of _____ sheets attached to Schedule of                                                                                           Subtotal
                                                                                                                                                                             1,190.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)                 56,606.04


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                  Case 08-90906-BHL-7                           Doc 12          Filed 04/28/08    EOD 04/28/08 19:58:05                  Pg 20 of 37
B6G (Official Form 6G) (12/07)


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  In re             Richard L Shelton                                                                               Case No.       08-90906
                                                                                                         ,
                                                                                         Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                          Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                               State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                     State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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               Case 08-90906-BHL-7                              Doc 12          Filed 04/28/08    EOD 04/28/08 19:58:05       Pg 21 of 37
B6H (Official Form 6H) (12/07)


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  In re          Richard L Shelton                                                                          Case No.    08-90906
                                                                                                      ,
                                                                                         Debtor

                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                              NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to Schedule of Codebtors
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         Case 08-90906-BHL-7                  Doc 12        Filed 04/28/08           EOD 04/28/08 19:58:05                  Pg 22 of 37
B6I (Official Form 6I) (12/07)

 In re    Richard L Shelton                                                                             Case No.     08-90906
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Single                                 Daughter                                                    7

Employment:                                               DEBTOR                                                   SPOUSE
Occupation                           unemployed
Name of Employer
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $          0.00          $            N/A
2. Estimate monthly overtime                                                                             $          0.00          $            N/A

3. SUBTOTAL                                                                                              $             0.00       $                 N/A

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $             0.00       $                 N/A
     b. Insurance                                                                                        $             0.00       $                 N/A
     c. Union dues                                                                                       $             0.00       $                 N/A
     d. Other (Specify):                                                                                 $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $             0.00       $                 N/A

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $             0.00       $                 N/A

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $                 N/A
8. Income from real property                                                                             $             0.00       $                 N/A
9. Interest and dividends                                                                                $             0.00       $                 N/A
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $                 N/A
11. Social security or government assistance
(Specify):           social security for daughter                                                        $          254.00        $                 N/A
                     social security for debtor                                                          $          619.00        $                 N/A
12. Pension or retirement income                                                                         $            0.00        $                 N/A
13. Other monthly income
(Specify):                                                                                               $             0.00       $                 N/A
                                                                                                         $             0.00       $                 N/A


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $          873.00        $                 N/A

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $          873.00        $                 N/A

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                     $              873.00
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
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B6J (Official Form 6J) (12/07)

 In re    Richard L Shelton                                                                   Case No.    08-90906
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                        $                  325.00
 a. Are real estate taxes included?                            Yes                No X
 b. Is property insurance included?                            Yes                No X
2. Utilities:      a. Electricity and heating fuel                                                           $                  150.00
                   b. Water and sewer                                                                        $                   25.00
                   c. Telephone                                                                              $                   77.00
                   d. Other cable                                                                            $                   21.00
3. Home maintenance (repairs and upkeep)                                                                     $                   10.00
4. Food                                                                                                      $                  300.00
5. Clothing                                                                                                  $                   25.00
6. Laundry and dry cleaning                                                                                  $                   10.00
7. Medical and dental expenses                                                                               $                   80.00
8. Transportation (not including car payments)                                                               $                  200.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                          $                   25.00
10. Charitable contributions                                                                                 $                    5.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                                $                    0.00
                   b. Life                                                                                   $                    0.00
                   c. Health                                                                                 $                    0.00
                   d. Auto                                                                                   $                   92.00
                   e. Other                                                                                  $                    0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify) car property taxes/tag renewal                                                    $                   10.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                   $                    0.00
                   b. Other                                                                                  $                    0.00
                   c. Other                                                                                  $                    0.00
14. Alimony, maintenance, and support paid to others                                                         $                    0.00
15. Payments for support of additional dependents not living at your home                                    $                    0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)             $                    0.00
17. Other misc. personal expenses                                                                            $                   25.00
    Other school expenses for 1 child                                                                        $                   25.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                     $                1,405.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:

20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                         $                  873.00
b. Average monthly expenses from Line 18 above                                                               $                1,405.00
c. Monthly net income (a. minus b.)                                                                          $                 -532.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)

                                                                  United States Bankruptcy Court
                                                                           Southern District of Indiana
 In re       Richard L Shelton                                                                                       Case No.   08-90906
                                                                                             Debtor(s)               Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                23       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date April 28, 2008                                                            Signature    /s/ Richard L Shelton
                                                                                             Richard L Shelton
                                                                                             Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                           Southern District of Indiana
 In re       Richard L Shelton                                                                                      Case No.   08-90906
                                                                                             Debtor(s)              Chapter    7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $2,263.00                                2006 Income
                           $0.00                                    2007 Income

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $2,476.00                                2008 disability YTD as of 4/2008

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                                                                                                                                                                  2

                           AMOUNT                                   SOURCE
                           $1,016.00                                2008 social security from daughter YTD as of 4/2008

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                                  AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                            AMOUNT PAID             OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                               AMOUNT
                                                                                   DATES OF                                     PAID OR
                                                                                   PAYMENTS/                                  VALUE OF       AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                                 TRANSFERS         OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                            AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT                     AMOUNT PAID             OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY                   STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION                      DISPOSITION
 72D01-0706-SC-316                              civil- collection of debt                    Small Claims Court, Scott         pending- no judgement
 Billy Richards vs. Richard                                                                  Superior Court
 Shelton                                                                                     Billy Richards, 950 S. Elm
                                                                                             Street, Scottsburg, IN, 47170
 10D03-0610-CC1240                              Civil- collection of debt                    Clark Superior Court, Division pending- no judgement
 Midland Credit Management                                                                   3
 Inc for Household/Orchard                                                                   Bowman, Heintz, Boscia and
 Bank vs. Richard Shelton                                                                    Vician, P.C., 251 E. Ohio
                                                                                             Street, Suite 860,
                                                                                             Indianapolis, Indiana, 46204

    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                    DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE                 PROPERTY


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                                                                                                                                                             3

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                     DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                           THAN DEBTOR                             OF PROPERTY
 Money Management                                                                 10/2007                              $49.00 for first step of credit
 9009 W. Loop South, Suite 700                                                                                         counseling
 Houston, TX 77096




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                                                                                                                                                                4

                                                                                     DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
     OF PAYEE                                                                          THAN DEBTOR                             OF PROPERTY
 N. Lisa Glickfield                                                               2008                                 $1,000.00-$299.00 for filing fee.
 413 W. First Street
 New Albany, IN 47150

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                      DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                         AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                               AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF            VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)           IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,            AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                  OR CLOSING

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                     DESCRIPTION              DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                     OF CONTENTS               SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                        AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                       LOCATION OF PROPERTY


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                                                                                                                                                             5

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY
 317 Vest Road, Henryville, IN, 47126                                             same                                 5/1/2005-6/2006
 133 Berna Drive, Scottsburg, IN, 47170                                           same                                 6/1/2006-6/2007
 323 Vest Road, Henryville, IN, 47126                                             same                                 6/2007-present

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                        STATUS OR DISPOSITION




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                                                                                                                                                               6

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                    NATURE OF BUSINESS           ENDING DATES

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED

    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                           ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                    DATE ISSUED




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               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                           AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                          OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                             VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                  TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                        TAXPAYER IDENTIFICATION NUMBER (EIN)


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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date April 28, 2008                                                            Signature    /s/ Richard L Shelton
                                                                                             Richard L Shelton
                                                                                             Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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Form 8
(10/05)

                                                                 United States Bankruptcy Court
                                                                          Southern District of Indiana
 In re       Richard L Shelton                                                                                           Case No.      08-90906
                                                                                           Debtor(s)                     Chapter       7


                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
          I have filed a schedule of assets and liabilities which includes debts secured by property of the estate.
          I have filed a schedule of executory contracts and unexpired leases which includes personal property subject to an unexpired lease.
          I intend to do the following with respect to property of the estate which secures those debts or is subject to a lease:

                                                                                                                                    Property will be   Debt will be
                                                                                                                   Property         redeemed           reaffirmed
                                                                                                  Property will be is claimed       pursuant to        pursuant to
 Description of Secured Property                                  Creditor's Name                 Surrendered      as exempt        11 U.S.C. § 722    11 U.S.C. § 524(c)
 -NONE-



                                                                                                  Lease will be
                                                                                                  assumed pursuant
 Description of Leased                                                                            to 11 U.S.C. §
 Property                                                         Lessor's Name                   362(h)(1)(A)
 -NONE-


 Date April 28, 2008                                                           Signature   /s/ Richard L Shelton
                                                                                           Richard L Shelton
                                                                                           Debtor




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                                                                 United States Bankruptcy Court
                                                                          Southern District of Indiana
 In re       Richard L Shelton                                                                                        Case No.   08-90906
                                                                                            Debtor(s)                 Chapter    7


                           DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                         $               1,000.00
              Prior to the filing of this statement I have received                                               $               1,000.00
              Balance Due                                                                                         $                   0.00

2.     The source of the compensation paid to me was:

                   Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                   Debtor                  Other (specify):

4.           I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
       a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d. [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                                       CERTIFICATION

       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

 Dated:       April 28, 2008                                                                /s/ N. Lisa Glickfield Back
                                                                                            N. Lisa Glickfield Back 23584-27
                                                                                            Hancock and Hancock
                                                                                            413 W. First Street
                                                                                            New Albany, IN 47150
                                                                                            812-944-1234 Fax: 812-944-8121
                                                                                            Glickfield@hancocklaw.win.net




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B 201 (04/09/06)

                                                          UNITED STATES BANKRUPTCY COURT
                                                           SOUTHERN DISTRICT OF INDIANA

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE
                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 N. Lisa Glickfield Back 23584-27                                                            X /s/ N. Lisa Glickfield Back             April 28, 2008
Printed Name of Attorney                                                                       Signature of Attorney                   Date
Address:
413 W. First Street
New Albany, IN 47150
812-944-1234

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Richard L Shelton                                                                           X /s/ Richard L Shelton                   April 28, 2008
 Printed Name(s) of Debtor(s)                                                                  Signature of Debtor                     Date

 Case No. (if known) 08-90906                                                                X
                                                                                                 Signature of Joint Debtor (if any)    Date




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                                                 VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      April 28, 2008                                                      /s/ Richard L Shelton
                                                                                Richard L Shelton
                                                                                Signature of Debtor




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